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                                             #:7990



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                           UNITED STATES DISTRICT COURT
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10                       CENTRAL DISTRICT OF CALIFORNIA
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12                                   )
13    BEYOND BLOND                   ) Case No. 2:20-cv-05581 DSF (GJSx)
      PRODUCTIONS, LLC, a            )
14    California limited liability   ) ORDER RE: FORMER COUNSEL
15    company;                       ) MANDOUR & ASSOCIATES, APC’S
                                     ) EX PARTE APPLICATION TO STAY
16
                    Plaintiff,       ) MAGISTRATE ORDER FOR TEN (10)
17                                   ) DAYS
18           v.                      )
                                     )
19    EDWARD HELDMAN III, an         ) Courtroom: 7D
20    individual; COMEDYMX, INC., a )
      Nevada corporation;            )
21    COMEDYMX, LLC, a Delaware )
22    limited liability company; and )
      DOES 1-10;                     )
23
                                     )
24                  Defendants.      )
25                                   )
      And Related Counterclaims and  )
26    Third-Party Claims.            )
27                                   )
28
                                                            Civil Case No. 2:20-cv-05581 DSF (GJSx)
        [proposed] ORDER RE: EX PARTE APPLICATION TO STAY MAGISTRATE ORDER PENDING APPEAL

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     Case 2:20-cv-05581-DSF-GJS         Document 440       Filed 05/07/25     Page 2 of 3 Page ID
                                              #:7991



 1          Before the Court is Former Counsel Mandour & Associates, APC’s ex parte
 2 application to stay the District Court’s and the Magistrate’s order for ten (10) days.
 3          Having read and considered the application, the Court deems this matter
 4    appropriate for decision without oral argument. See Fed. R. Civ. P . 78; L.R. 7-15.
 5          Former Counsel’s Application is hereby GRANTED. The District Court’s
 6    order (ECF No. 436) and the Magistrate’s March 7, 2025 Order (ECF No. 411) are
 7    hereby STAYED until May 15, 2025.
 8          IT IS SO ORDERED.
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10    Dated: May 7, 2025
11                                       Hon. Dale S. Fischer
                                         United States District Judge
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                                                             Civil Case No. 2:20-cv-05581 DSF (GJSx)
         [proposed] ORDER RE: EX PARTE APPLICATION TO STAY MAGISTRATE ORDER PENDING APPEAL

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     Case 2:20-cv-05581-DSF-GJS         Document 440       Filed 05/07/25     Page 3 of 3 Page ID
                                              #:7992



 1                               CERTIFICATE OF SERVICE

 2
            I hereby certify that on the below date, I filed the foregoing document via

 3
      the Court’s CM/ECF filing system, which will provide notice of the same on the

 4
      following:

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13          Defendant Edward Heldman III, pro per
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            Sun City Arizona 85351
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16
17
18    Date: May 7, 2025
                                                      /s/ Ben T. Lila
19                                               Ben T. Lila
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                                                             Civil Case No. 2:20-cv-05581 DSF (GJSx)
         [proposed] ORDER RE: EX PARTE APPLICATION TO STAY MAGISTRATE ORDER PENDING APPEAL

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